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                             EXHIBIT 1 ·
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   SheppardMulHin                                                    Sheppard Mullin Richter & Hampton LLP
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                                                                     213-620-1780 main
                                                                     213-620-1398 main fax

 OXPC-303330 Allstate - Baker, Alan - Claim# 0517768                                     December 18, 2019
 Peter H. Klee                                                                           Invoice 370041830
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                                                       FEE DETAIL

                                           Description of Services




  11/15/19         Review correspondence re settlement demand.                 3065            .20 hrs.




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   Sheppard Mui Din                                                             Sheppard Mullin Richter & Hampton LLP
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                                                                                213-620-1398 main fax

 OXPC-303330· Allstate - Baker, Alan - Claim# 0517768                                               December 18, 2019
 Peter H. Klee                                                                                      Invoice 370041830
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                                                        FEE DETAIL

                                            Description of Services




   11/16/19         Review additional correspondence from Attorney Hook re                 3065.          .20" hrs.
                    settlement demand and correspondence to clients re same.-




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                                                                           213-620-1398 main fax

 OXPC-303330 Allstate - Baker; Alan - Claim# 0517768                                           December 18, 2019
 Peter H. Klee                                                                                 Invoice 370041830
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                                                       FEE DETAIL

                                           Description of Services




   11/21/19        Review numerous settlement demands made by plaintiff and          3057            .40 hrs:
                   outline potential strategies for responqing to same.




   11/21/19        Review and r~sponse to numerous (20+) correspond~nce from         3065          2.80 hrs.
                   Attorney Book regarding settlement, discovery, motion for
                   summary judgment and threats, including research regarding
                   and evaluation of possible sanctions and ex parte motion for
                   same.




                                                                                                  Exhibit 1
                                                                                                   Page 6
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   Sheppard Mui Hin                                                         Sheppard Mullin Richter & Hampton LLP
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                                                                            213-620-1398 main fax


 OXPC-303330 Allstate - Baker, Alan- Claim# 0517768                                             December 18, 2019
 Peter H. Klee                                                                                  Invoice'370041830
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                                                      FEE DETAIL

                                           Description of Services




   11/22/19        Review numerous additional threatening e-mails from                3065          1.20 hrs.
                   Attorney Hook and evaluate options to respond to same.




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                                                                                                   Page 7
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   Sheppard Mullin                                                          Sheppard Mullin Richter & Hampton LLP
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 OXPC-303330 Allstate - Baker, Alan -Claim# 0517768                                           . December 18, 2019
 Peter H. Klee                                                                                  Invoice 370041830
                                                                                                     Page 1s·of20

                                                      FEE DETAIL

                                           Description of Services




   11/23/19       Review numerous improper email threats sent by attorney             3057            .50 hrs.
                  Hook and outline strategies for dealing with same.




  11/24/19        Review new barrage of increasingly threatening emails sent by       3057          1.30 hrs.
                  opposing counsel and conduct preliminary research and
                  analysis to determine whether they may provide grounds for
                  dismissal of case.

  11/24/19        Review further e-mail threats from Attorney Hook and begin ·        3065          1.30 hrs.
                  outlining motion in response to same.       ·




                                                                                                   Exhibit 1
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   SheppardMuBBin                                                             Sheppard Mullin Richter & Hampton LLP
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 OXPC-303330 Allstate - Baker, Alan - Claim# 0517768                                              December 18, 2019
 Peter H. Klee                                                                                    Invoice 370041830
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                                                       FEE DETAIL

     Date                             Description of Services                            Tkpr          Hours
   11/24/19        Research authority on disqualification of an attorney in the          3703           .80 hrs.
                   Ninth Circuit.

   11/24/19        Research general standard for san_ctions based on the court's         3703           .70 hrs.
                   inherent powers.

   11/24/19        Research cases where sanctions have issued based on improper          3703           .90 hrs.
                   conduct by an attorney or a party.

   11/25/19        Help draft ex parte motion based on attorney Hook's                   3057          1.40 hrs.
                   misconduct.

   11/25/19        Review additional correspondence from Attorney Book:                 3065            .20 hrs.

   11/25/19        Work on motion to dismiss, disqualify, plaintiffs' counsel and       3065           9.50 hrs.
                   for restraining order and all supporting documents and
                   exhibits.

   11/25/19        Research Judge Wright's decisions regarding inherent powers          3703            .70 hrs.
                   to sanction parties.

   11/25/19        Research· authority for the argument that plaintiff has engaged      3703            .80 hrs.·
                   in criminal acts urider California law.

  11/25/19         Draft proposed order granting sanctions motion.                      3703            .70 hrs.

  11/25/19        Research authority on dismissal of a lawsuit based on actions         3703          1.10 hrs.
                  of counsel.

  11/25/19        Research ex parte requirements for purposes of filing motion          3703           .80 hrs.
                  for sanctions.                              .

  11/25/19        Research availability of obtaining restraining order based on         3703          1.80 hrs.
                  misconduct in litigation.

  11/26/19        Continue working on motions regarding attorney Hook's                 3057          1.00 hrs.
                  misconduct.                                    · · ·




                                                                                                    Exhibit 1
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 OXPC-303330 Allstate - Baker, Alan - Claim# 0517768                                               December 18, 2019
 Peter H. Klee                                                                                     Invoice 370041830
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                                                       FEE DETAIL

     Date                              Description of Services                           Tkpr           Hours
   11/26/19         Research regarding Attorney Hook related to security threats.        3065            .30 hrs.

   11/26/19        Work on motion to dismiss/disqualify counsel and all                  3065           3.50 hrs.
                   supporting documents.

   11/26/19        Review latest settlement demand from Attorney Hook                    3065            .10 hrs.




   11/26/19        Expand proposed order granting sanctions motion to include            3703            .70 hrs.
                   request for protective order.




   11/26/19        Review 600 million dollar demand letter from plaintiffs'             3703            .10 hrs.
                   counsel.

  11/26/19         Draft email to opposing counsel pursuant to .chambers rule that      3703            .20 hrs.
                   we give notice of ex parte filing.




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 OXPC-303330 Allstate - Baker, Alan - Claim# 0517768                                               December20, 2019
 Peter H. Klee                                    ·                                                Invoice 370041942
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 FOR PROFESSIONAL SERVICES THROUGH 12/17/19

                                                       FEE DETAIL

                                           Description of Services                                      Hours.·

   12/02/19        Work on supplemental notice to court re ex parte application.         3065            .30 hrs.

   12/02/19        Review court order on ex parte application and begin outlining        3065            .40 hrs.
                   strategy for hearing on order to show cause. .




   12/02/19        Draft declaration regarding compliance with chambers rules to         3703            .80 hrs.
                   notify Court that plaintiff has still not responded to motion to
                   dismiss and for sanctions.




                                      .                              .
   12/04/19        Review plaintiffs' opposition to OSC and outline arguments            3057          1.40 hrs.
                   for reply to same.

  12/04/19        Review plaintiffs' opposition to ex parte motion to dismiss, all      3065           8.60 hrs.
                  supporting declarations and documents, outline and begin
                  work on reply brief to same.




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                                                                                                     Page 11
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 OXPC-303330 Allstate - Baker, Alan - Claim# 0517768                                                    December 20, 2019
 Peter H. Klee                                                                                          Invoice 370041942
                                                                                                              Page 3 oflO

                                                       FEE DETAIL

     Date                               Description of Services                                Tkpr          Hours
   12/04/19        Research plaintiffs argument that California's Anti-SLAPP                   3703          2.10 hrs.
                   statute (California Code of Civil Procedure section 425.16)
                   prevents him from the consequences of his slurs and threats.

   12/04/19        Research plaintiffs argument that California Evidence Code                  3703          1.50 hrs.
                   section 1152 prevents him from the consequences of his slurs
                   and threats because they were made in connection with.
                   settlement discussions.

   12/04/19        Research plaintiffs argument that California Civil Code                     3703          1.10 hrs.
                   section 4 7 prevents him from the consequences of his slurs and
                   threats because they were made in connection with settlement
                   discussions.

   12/04/19        Draft response to plaintiffs' counsel's arguments that California           3703          1.80 hrs.
                   law immunizes him from being held accountable for his threats
                   and slurs.

   12/04/19        Analyze the two cases plaintiff cites (Seltzer and Goodyear) to            3703            .40 hrs.
                   support his argument that he cannot be held accountable for
                   his slurs and threats because they were made in connection
                   with settlement discussions.. ·

   12/04/19        Research argumept that proof:of threats is not hearsay because             3703           .:20 hrs.
                   it is not offered for the truth of the matter asserted-...:i.e., that
                   the threats will be followed through with--but instead offered
                   to prove the threat was made.

  12/04/19         Review and propose edits to reply brief in support of                      3703            .90 hrs.
                   sanctions, disqualification, arid dismissal.




  12/04/19        Research plaintiffs argument that he cannot be held                         3703           .60 hrs.
                  accountable for his slurs and threats because they are protected
                  by the First Amendment.




                                                                                                           Exhibit 1
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 OXPC-303330 Allstate - Baker, Alan - Claim# OSJ 7768                                               December 20, 2019
 Peter H. Klee                                                                                      Invoice 370041942
                                                                                                          Page 4 oflO

                                                        FEE DETAIL

      Date                                  Description of Services                        Tkpr

   12/04/19         Begin researching authority to support the argument that cases         3703            .50 hrs.
                    have been dismissed for less than what plaintiffs' lawyer has
                    done in this case.                                            ·

   12/04/19         Begin researching authority to support the argument that               3703           .20 hrs.
                    lawyers have been disqualified for less than what plaintiffs'
                    lawyer has done in this case ..

   12/04/19 ·      Research authority to support the argument that lawyers have          . 3703           ·.90 hrs.
                   been disbarred for less than what plaintiffs' lawyer has done in
                   this case.

   12/05/19        Help draft reply brief regarding OSC motion.                            3057           .80 hrs.

   12/05/19        Continue review of opposition and work on reply to m~tion to           3065          4.50 hrs.
                   dismiss/disqualify and supporting documents.




   12/05/19        Review numerous correspondence re Attorney Hook based on               3065            .30 hrs.
                   conduct.




  12/05/19         Continue researching authority to support the argument that            3703           .40 hrs.
                   lawyers have been disqualified for.less than what plaintiffs'.
                   lawyer has done in this case.

  12/05/19         Continue researching authority to support the argument that            3703           .30 hrs.
                   cases have been dismissed for less than what plaintiffs' lawyer
                   has done in this case.




                                                                                                       Exhibit 1
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 OXPC~303330 Allstate - Baker, Alan - Claim# 0517768                                                December 20, 2019
 Peter H. Klee                                                                                      Invoice 370041942
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                                                       FEE DETAIL

                                           Description of Services



                                                                                       •

   12/05/19        Review and propose further edits to reply brief in support of           3703         1.40 hrs.
                   sanctions, disqualification, and dismissal to keep filing below
                   10 pages.

   12/06/19        Review m·ore information from nuni.erous online sources and             3065         1.00 hrs.
                   exchange correspondence with counsel with previous
                   experience with Attorney Hook in preparation for order to
                   show cause hearing.

   12/09/19                                                                                3057         1.20 hrs.
                                             PRIVILEGED




   12/09/19                                                                                3065          .. 20 hrs.
                                            PRIVILEGED




  12/09/19                                                                                 3703 .       1.70 hrs.
                                                PRIVILEGED




                                                                                                       Exhibit 1
                                                                                                       Page 14
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 OXPC-303330 Allstate-Baker, Alan - Claim# 0517768                                                December 20, 2019
 Peter H. Klee                                                                                    Invoice 370041942
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                                                     FEE DETAIL

     Date                             Description of Services                            Tkpr          Hours
   12/10/19        Review and evaluate response to additional correspondence             3065           .20 hrs.
                   from media re order to show cause hearing; · ·




   12/11/19       Review plaintiffs' substitution of counsel and response to OSC         3057           .60 hrs.
                  and evaluate potential impact of same and related strategies.

   12/11/19                              PRIVIUEGED                                      3065           .60 hrs.




   12/11/19       Review new media and press inquiries re order to show cause           3065            .40 hrs. .
                  and stateinents from Attorney Hook.

   12/11/19       Analyze additional security issues re order to show cause             3065            .20 hrs.
                  hearing.




  12/11/19        Review new filings re substitution of attorney and new                3065            .40 hrs.
                  opposition re ex parte applica~ion.
                                                 '    .         .    .
                                                                       .

  12/11/19        Review filing by Oliyer and :B)aker contending.they had no. •         3703            .40 hrs.
                  knowledge ofHook's emails o:i- filings.           .·        ·




                                                                                                     Exhibit 1
                                                                                                     Page 15
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 OXPC-303330 Allstate - Baker, Alan - Claim# 0517768                                               . December 20;2019
 Peter H. Klee                                                                                       Invoice 370041942 .
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                                                       FEE DETAIL

                                           Description of Services




   12/12/19        Review plaintiffs' objections to Hook's association of counsel.         3065           .10 hrs.

   12/12/19        Analyze issues re new attorney ability to appear at hearing.- . ·       3065           .30 hrs.
                   before court approves substitution. .                  .




   12/12/19        Research whether counsel can make filings before court has             3703            .70 hrs.
                   approved substitution.




   12/13/19        Review documents and new media articles in preparation for             3065            .70 hrs.
                   order to show cause hearing;

  12/14/19        Review pod cast with Attorney Hook and analyze additional               3065            .70 hrs.
                  issues to be raised at order to show cause hearing.

  12/15/19        Review all filings and relevant legal authority regarding               3057          2.50 hrs.
                  upcoming OSC hearing and prepare outline of argument for
                  hearing.




                                                                                                       Exhibit 1
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  OXPC-303330 Allstate - Baker, Alan - Claim# 0517768                                                December 20, 2019
  Peter H. Klee                                                                                     ·invoice 370041942
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                                                        FEE DETAIL

                                            Description of Services




    12/16/19        Travel to/frorµ OSC hearing in Los Angeles.                            3057.         5.00 hrs.

    12/16/19        Attend OSC hearing.                                                    3057            .70 hrs.

    12/16/19        Meet with Mr. Romero, prepare for and attend court hearing             3065          1.60 hrs.
                    on ex parte and order to show cause re Attorney Hook.

    12/16/19        Travel to and from Los Angeles for order to show cause                 3065          4.00 hrs.
                    hearing.

    12/16/19        Review additional correspondence from media re order to                3065           .30 hrs.
                    show cause hearing.

    12/16/19        Review minute order on hearing.                                        3065           .10 hrs.

    12/17/19        Research re and prepare temporary restraining order .and              3065           1.70 hrs.
                    further orders after hearing on order to show cause.

    12/17/19        Review documents and bills to submit costs to court per order         3065            .50 hrs.
                    at hearing.

    12/17/19        Review additional information on Attorney Hook and                    3065            .40 hrs.
                    responses to media and correspondence to clients re same.




                                                                                                     Exhibit 1
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